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June 13, 2019

Kevin Schmidt
Director of Investigations
Cause of Action Institute
1875 Eye Street, NW
Suite 800
Washington, DC 20006

Re:    Freedom of Information Request DOC-IOS-2019-000827
       Freedom of Information Request DOC-BIS-2019-000742

Dear Mr. Schmidt:

This letter is in further response to your above-referenced Freedom of Information
(FOIA) requests to the Department of Commerce (DOC) and the Bureau of Industry &
Security (BIS), respectively, both of which were received February 18, 2019. In both of
these FOIA requests, you requested:
A copy of the Commerce Secretary’s final report to the President regarding Section 232
National Security Investigation of Imports of Automobiles, Including Cars, SUVs, Vans
and Light Trucks, and Automotive Parts.

Please see the attached presidential proclamation dated May 17, 2019, which provides a
summary of the findings in the Secretary’s report.

We are currently reviewing, in conjunction with the Executive Office of the President,
whether the Secretary’s report constitutes a presidential record within the meaning of the
Presidential Records Act, 44 U.S.C. 2201 et seq., in which case it would not be subject to
disclosure under FOIA. However, to the extent that the Secretary’s Section 232 report to
the President of the United States may constitute an agency record within the meaning of
FOIA, DOC and BIS are withholding it in full pursuant to 5 U.S.C. § 552(b)(5), which
exempts from disclosure inter-agency or intra-agency memorandums or letters which
would not be available by law to a party other than an agency in litigation with the
agency. The report, if an agency record, would be exempted from disclosure under FOIA
pursuant to the presidential communications privilege and/or the deliberative process
privilege, until all actions deemed necessary to adjust the imports of automobiles and
automobile parts so that such imports will not threaten to impair the national security
have been completed. See 15 C.F.R. § 705.11.

Although we are aware that this matter is already in litigation, we are required to notify
you that if you are dissatisfied with this determination, you have the right to file an
administrative appeal if you are not satisfied with our response to your FOIA request. All
appeals should include a statement of the reasons why you believe the FOIA response
was not satisfactory. An appeal based on documents in this release must be received
within 90 calendar days of the date of this response letter at the following address:
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       Assistant General Counsel for Employment, Litigation, and Information
       U.S. Department of Commerce
       Office of General Counsel, Room 5896
       1401 Constitution Ave. NW,
       Washington, DC 20230

An appeal may also be sent by e-mail to FOIAAppeals@doc.gov, or by FOIAonline at
https://foiaonline.regulations.gov/foia/action/public/home#.

For your appeal to be complete, it must include the following items:
•       a copy of the original request,
•       our response to your request,
•       a statement explaining why the withheld records should be made available, and
why the denial of the records was in error, and
•       "Freedom of Information Act Appeal" must appear on your appeal letter. It should
also be written on your envelope, or e-mail subject line.

FOIA appeals posted to the e-mail box, FOIAonline, or Office after normal business
hours will be deemed received on the next business day. If the 90th calendar day for
submitting an appeal falls on a Saturday, Sunday or legal public holiday, an appeal
received by 5:00 p.m., Eastern Time, the next business day will be deemed timely.

Again, although we are aware this matter is in litigation, we are required to inform you
that FOIA grants requesters the right to challenge an agency’s final action in federal
court. Before doing so, an adjudication of an administrative appeal is ordinarily required.

The Office of Government Information Services (OGIS), an office created within the
National Archives and Records Administration, offers free mediation services to FOIA
requesters. Its contact information is:

       Office of Government Information Services
       National Archives and Records Administration
       8601 Adelphi Road, Room 2510
       College Park, MD 20740-6001
       Email: ogis@nara.gov
       Phone: 301-837-1996
       Fax: 301-837-0348
       Toll-free: 1-877-684-6448

Because these requests are in litigation in Cause of Action v. DOC (D.D.C. No. 19-cv-
778), if you have questions regarding this correspondence, please contact Ms. Melanie
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Hendry, Assistant U.S. Attorney and counsel of record for DOC in this matter, at
melanie.hendry2@usdoj.gov, or by phone at (202) 252-2510.

Sincerely,

ROBERTA Digitally signed by
        ROBERTA PARSONS

PARSONS Date: 2019.06.14
        14:35:30 -04'00'
Bobbie Parsons
FOIA Officer, Immediate Office of the Secretary
Office of Privacy and Open Government
U.S. Department of Commerce

Enclosure:
       One (1) document Six (6) pages
